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               IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                  IN AND FOR HILLSBOROUGH COUNTY, STATE OF FLORIDA
                                     CIVIL ACTION

        LISA N. BOSTICK,                                            CASE NO.:

                       Plaintiff,                                   DIVISION:

        vs.

        STATE FARM MUTUAL
        AUTOMOBILE INSURANCE
        COMPANY,

                    Defendant.
        __________________________/

                                    PLAINTIFF'S COMPLAINT,
                                 DEMAND FOR JURY TRIAL AND
                          NOTICE OF DESIGNATION OF E-MAIL ADDRESSES

               Plaintiff, LISA N. BOSTICK, sues the Defendant, STATE FARM MUTUAL

        AUTOMOBILE INSURANCE COMPANY, and alleges:

               1.    This is an action for damages that exceeds $15,000.00.

               2.    At all times material hereto the Plaintiff, LISA N. BOSTICK, was and is a resident of

        Hillsborough County, Florida.

               3.    At all times material hereto the Defendant, STATE FARM MUTUAL AUTOMOBILE

        INSURANCE COMPANY, was and is a corporation which is duly authorized to and is doing

        business in Hillsborough County, Florida.

               4.    On or about November 14, 2013, Blair S. Alsup, an insured motorist, operated her

        motor vehicle on Bloomingdale Avenue in Brandon, Hillsborough County, Florida.




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          5.     On the aforementioned date, Blair S. Alsup, negligently operated and maintained her

motor vehicle so that it collided with the motor vehicle owned and operated by the Plaintiff, LISA

N. BOSTICK.

          6.     As a result, Plaintiff, LISA N. BOSTICK, suffered bodily injury and resulting pain and

suffering, disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life,

expense of hospitalization, medical and nursing care and treatment and aggravation of a previously

existing condition. The losses are either permanent or continuing and Plaintiff will suffer the losses

in the future.

          7.     On the aforementioned date, Plaintiff, LISA N. BOSTICK, was insured under an

automobile insurance policy issued by Defendant, STATE FARM MUTUAL AUTOMOBILE

INSURANCE COMPANY, policy number 092 9559-D15-59E, which policy included coverage for

underinsured motorist benefits. Verification of coverage is attached as Exhibit “A” and incorporated

by reference herein.

          8. On the aforementioned date, the tortfeasor, Blair S. Alsup, was insured under an

automobile insurance policy issued by Geico General Insurance Company, policy number 4018-47-

40-17, which provided a combined single liability limit of $100,000. Verification of coverage is

attached as Exhibit “B” and incorporated by reference herein.

          9.     Geico General Insurance Company tendered the policy limits and Plaintiff accepted

these limits in full and final settlement for the bodily injuries Alsup caused. Defendant, STATE

FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, waived its right to subrogation as

evidenced by its subrogation waiver letter attached as Exhibit “C” and incorporated by reference

herein.


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       10.     The settlement of $100,000 and personal injury protection benefits were insufficient

to compensate Plaintiff for her injuries.

       11.     As a result of Plaintiff, LISA N. BOSTICK’S, serious injuries, Defendant, STATE

FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, is obligated to pay the underinsured

motorist policy benefits to Plaintiff, but has not done so.

       12.     Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

has breached its contract of insurance by its failure to pay the full value of Plaintiff’s claim for

personal injuries.

       WHEREFORE, Plaintiff, LISA N. BOSTICK, hereby demands judgment for damages

against Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, in an

amount sufficient to compensate her for her injuries, plus costs of suit and attorney's fees, if

applicable.

                                  DEMAND FOR JURY TRIAL

       Plaintiff, LISA N. BOSTICK, demands a trial by jury on all issues so triable.

                   NOTICE OF DESIGNATION OF E-MAIL ADDRESSES
                 FOR SERVICE OF DOCUMENTS BY ELECTRONIC MAIL

       Plaintiff, LISA N. BOSTICK, by and through the undersigned Counsel and pursuant to

Florida Rule of Judicial Administration 2.516, hereby designates the following primary and

secondary e-mail addresses for service by electronic mail in the above-captioned matter:

               Counsel’s Name:                Michael P. Maddux, Esquire
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     DATED this 9th day of February, 2016.



                                              MICHAEL P. MADDUX, P.A.

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